Case 5:25-cv-01007-FLA-SSC     Document 11   Filed 05/19/25   Page 1 of 5 Page ID
                                     #:55



  1 LAW OFFICES OF DALE K. GALIPO
    Dale K. Galipo (Bar No. 144074)
  2 dalekgalipo@yahoo.com
  3 Eric Valenzuela (Bar No. 284500)
    evalenzuela@galipolaw.com
  4 21800 Burbank Boulevard, Suite 310
    Woodland Hills, California 91367
  5 Telephone: (818) 347-3333
    Facsimile: (818) 347-4118
  6
  7 Attorneys for Plaintiffs
  8
  9
 10
                           UNITED STATES DISTRICT COURT
 11
                       CENTRAL DISTRICT OF CALIFORNIA
 12
 13
    A.E.C., a minor by and through her         Case No. 5:25−cv−01007 FLA (SSCx)
 14 Guardian Ad Litem MELINDA LEE
 15 CASTEEL; JERRY SWART
                                               PROOF OF SERVICE OF
 16              Plaintiffs,                   SUMMONS AND COMPLAINT
 17                  vs.
 18
    COUNTY OF RIVERSIDE; and DOES
 19 1-10, inclusive,
 20
                     Defendants.
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                                      PROOF OF SERVICE
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  1 TO THE HONORABLE COURT:
  2
  3        In accordance with Rule 4(l)(1) of the Federal Rules of Civil Procedure, and
  4 Central District Local Rule 5-3.1, Plaintiffs hereby submit their proof of service of
  5 the Complaint, Summons, and other documents on Defendant City of Torrance.
  6 (attached hereto as Exhibit “A”).
  7
  8 DATED: May 19, 2025                  LAW OFFICES OF DALE K. GALIPO
  9
 10
                                          By /s/ Eric Valenzuela
 11
                                            Dale K. Galipo
 12                                         Eric Valenzuela
                                            Attorneys for Plaintiffs
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                                        PROOF OF SERVICE
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                   EXHIBIT A
                   Case 5:25-cv-01007-FLA-SSC                         Document 11         Filed 05/19/25                Page 4 of 5 Page ID
                                                                            #:58                                                                         POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                        FOR COURT USE ONLY
    Dale K. Galipo (SBN 144074)
    Eric Valenzuela (SBN 284500)
    LAW OFFICES OF DALE K. GALIPO
    21800 Burbank Boulevard, Suite 310 Woodland Hills, CA 91367
   TELEPHONE NO.: (818) 347-3333 | FAX NO. | E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiffs:


 UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
         STREET ADDRESS: 350 West First Street, Suite 4311

         CITY AND ZIP CODE: Los Angeles, CA 90012
            BRANCH NAME:


      PLAINTIFF/PETITIONER: A.E.C., a minor by and through her Guardian Ad Litem MELINDA LEE
                            CASTEEL; JERRY SWART                                                             CASE NUMBER:

DEFENDANT/RESPONDENT: COUNTY OF RIVERSIDE                                                                    5:25-cv-1007 FLA (SSCx)

                                                                                                             Ref. No. or File No.:
                                     PROOF OF SERVICE OF SUMMONS                                                                     2442249LT

                                            (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.       Summons
    b.       Complaint
    c.       Alternative Dispute Resolution (ADR) package
    d.       Civil Case Cover Sheet
    e.       Cross-Complaint
    f.       other (specify documents): CIVIL COVER SHEET; CERTIFICATION AND NOTICE OF INTERESTED PARTIES; NOTICE
             OF ASSIGNMENT TO UNITED STATES JUDGES; NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM; NOTICE
             TO COUNSEL RE CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE; STANDING ORDER
3. a. Party served (specify name of party as shown on documents served):
    COUNTY OF RIVERSIDE
    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         Theresa Powell, Clerk - Authorized person to accept service of process
4. Address where the party was served: 4080 Lemon Street
                                                   Riverside, CA 92501
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 5/1/2025 (2) at (time): 10:14 AM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.



                                                                                                                                                           Page 1 of 2
Form Approved for Mandatory Use                                                                                                       Code of Civil Procedure, § 417.10
Judicial Council of California                            PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/2442249
                     CaseA.E.C.,
                  Plaintiff: 5:25-cv-01007-FLA-SSC                    Document
                                 a minor by and through her Guardian Ad Litem MELINDA11    Filed 05/19/25 CASE
                                                                                     LEE CASTEEL;           Page  5 of 5
                                                                                                               NUMBER:                 Page ID
                             JERRY SWART                                       #:59                                     5:25-cv-1007 FLA (SSCx)
                Defendant: COUNTY OF RIVERSIDE


     c.          by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                 shown in item 4, by first-class mail, postage prepaid,
                 (1) on (date):                                          (2) from (city):
                 (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                         (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                 (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.          by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.          as an individual defendant.
     b.          as the person sued under the fictitious name of (specify):
     c.          as occupant.
     d.          On behalf of (specify): COUNTY OF RIVERSIDE
                 under the following Code of Civil Procedure section:
                                    416.10 (corporation)                         415.95 (business organization, form unknown)
                                    416.20 (defunct corporation)                 416.60 (minor)
                                    416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                    416.40 (association or partnership)          416.90 (authorized person)
                                    416.50 (public entity)                       415.46 (occupant)
                                                                                 other: FRCP 4(i)(2)

7. Person who served papers
   a. Name: Jesse Mendez - Ace Attorney Service, Inc.
   b. Address: 800 S. Figueroa Street, Suite 900 Los Angeles, CA 90017
   c. Telephone number: (213) 623-3979
   d. The fee for service was: $ 119.74
   e. I am:

          (1)        not a registered California process server.
          (2)        exempt from registration under Business and Professions Code section 22350(b).
          (3)        registered California process server:
                   (i)      owner                  employee            independent contractor.
                   (ii) Registration No.: PS-002133
                   (iii) County: RIVERSIDE

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 5/19/2025




                                    Jesse Mendez
                       (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                            (Signature - Per CC §1633.7)




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                                                           PROOF OF SERVICE OF SUMMONS
                                                                                                                                       POS-010/2442249
